District of Nebraska                                                                   https://ned-ecf.sso.dcn/cgi-bin/DktRpt.pl?146958723836275-L_1_0-1
                               Case 3:21-mj-00031-SBJ Document 1-1 Filed 03/26/21 Page 1 of 1
                                                                                                                                                  SEALED

                                                             U.S. District Court
                                                      District of Nebraska (4 Lincoln)
                                         CRIMINAL DOCKET FOR CASE #: 4:21-mj-03043-CRZ-1 *SEALED*
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         Case title: USA v. SEALED                                                             Date Filed: 03/25/2021


         Assigned to: Magistrate Judge Cheryl R. Zwart

         Defendant (1)
         Adam Stuart Vannoy

         Pending Counts                                            Disposition
         None

         Highest Offense Level (Opening)
         None

         Terminated Counts                                         Disposition
         None

         Highest Offense Level (Terminated)
         None

         Complaints                                                Disposition
         18:922(g)(3) and 18:924(a)(2) UNLAWFUL USER IN
         POSSESSION OF A FIREARM



         Plaintiff
         USA                                                                      represented by Matthew R. Molsen
                                                                                                 U.S. ATTORNEY'S OFFICE - LINCOLN
                                                                                                 100 Centennial Mall North
                                                                                                 Suite 487, Federal Building
                                                                                                 Lincoln, NE 68508-3865
                                                                                                 (402) 437-5241
                                                                                                 Email: matthew.molsen@usdoj.gov
                                                                                                 ATTORNEY TO BE NOTICED
                                                                                                 Designation: Assistant U.S. Attorney


          Date Filed          #        Docket Text
          03/25/2021               1 COMPLAINT signed by Magistrate Judge Cheryl R. Zwart as to defendant Adam Stuart Vannoy. (JAB) (Entered:
                                     03/26/2021)
          03/25/2021               2 CRIMINAL COVER SHEET as to defendant Adam Stuart Vannoy. ACCESS TO THE PDF DOCUMENT IS RESTRICTED
                                     TO CASE PARTICIPANTS AND THE COURT PURSUANT TO THE E-GOVERNMENT ACT AND FEDERAL RULE
                                     OF CRIMINAL PROCEDURE 49.1(a). ALL COUNSEL OF RECORD IN MULTI-DEFENDANT CASES MAY ACCESS
                                     THIS DOCUMENT. (JAB) (Entered: 03/26/2021)
          03/25/2021               3 *SEALED* ARREST WARRANT ISSUED (COPY) as to defendant Adam Stuart Vannoy. THIS DOCKET ENTRY AND
                                     PDF DOCUMENT ARE SEALED PURSUANT TO AN ORDER OF THE COURT AND/OR LEGAL AUTHORITY
                                     GOVERNING SEALED FILINGS. ACCESS IS LIMITED ONLY TO THE COURT. (JAB) (Entered: 03/26/2021)




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